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or leading to such documents, and any due diligence in connection with such documents and

transactions.

       12.       Documents and communications regarding the price and valuation described in

Paragraph 61 of the Complaint, including but not limited to all documents and communications

concerning how such figures were derived.

       13.       Documents and communications regarding SPA 3 and the other transactions and

documents described in Paragraphs 63-70 of the Complaint, including any internal or external

communications or negotiations preceding or leading to such documents or transactions, and any

due diligence in connection with such documents and transactions.

       14.       Documents and communications regarding the price and valuation described in

Paragraph 63 of the Complaint, including but not limited to all documents and communications

concerning how such figures were derived.

       15.       Documents and communications regarding the consideration and Earn-Out

Payments You received as part of SPA 3 as described in Paragraphs 67-68 of the Complaint.

       16.       Documents and communications regarding any due diligence that the FTX Group

performed in connection with SPA 1, SPA 2, and SPA 3.

       17.       Communications with BDO USA, LLP (“BDO”) regarding DAAG.

       18.       Documents and communications regarding BDO’s April 7, 2022 report titled ASC

805 Valuation of Certain Assets of FTX Trading Ltd. (“BDO Report”).

       19.       Documents and Communications with BDO preceding or leading to the BDO

Report, including but not limited to any documents or other information provided to BDO in

connection with or in preparation of the BDO Report.




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       20.     Any other valuation of DAAG or FTX Europe’s assets and liabilities besides the

BDO Report.

       21.     Documents and communications regarding K-DNA, including those regarding:

               a.     Communications with or about K-DNA,
               b.     Services offered by K-DNA;
               c.     Any valuation of K-DNA;
               d.     Any diligence prior to any acquisition of K-DNA;
               e.     Regulatory and operating licenses held by K-DNA, including
                      applications thereof;
               f.     The K-DNA SPA;
               g.     Whether K-DNA would or not be “included by name in SPA 3” as
                      described in Paragraph 87 of the Complaint, including but not
                      limited to the communications referred to in Paragraph 87;
               h.     Any due diligence or research regarding K-DNA prior to any
                      potential or actual acquisition of K-DNA;
               i.     The documents and transactions described in Paragraphs 89-96 and
                      102 of the Complaint; and
               j.     The change of K-DNA’s trade name to FTX Europe.

       22.     Documents and communications regarding Cosima Capital, including but not

limited to documents and communications regarding: Cosima Capital providing services to

Plaintiffs and/or Debtors, payments from Plaintiffs and/or Debtors to Cosmia Capital, and the

allegation in Paragraph 50 of the Complaint that “[You] pitched Bankman-Fried to hire his

advisory firm, Cosima Capital.”

       23.     Documents and communications regarding Crypto Lawyers, including but not

limited to documents and communications regarding: Crypto Lawyers providing services to

Plaintiffs and/or Debtors, payments from Plaintiffs and/or Debtors to Crypto Lawyers, and the

allegation in Paragraph 50 of the Complaint that “[You] pitched Bankman-Fried to hire . . . Gruhn’s

law firm, Crypto Lawyers.”

       24.     Documents and communications regarding LI, including those regarding:


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            a.     Purchase and sale of interests in DAAG;
            b.     Any non-cash consideration received from Debtors; and
            c.     Any cash payments received from Debtors.

Dated: October 25, 2023
Wilmington, Delaware

/s/ Peter J. Keane_________________
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